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Attorney for Plaintiff
Porshia Jones
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
PORSHIA JONES, Case No. 2:13-cv-5525 MWF (CWx)
Plaintiff,
STIPULATION OF DISMISSAL
Vv. WITH PREJUDICE OF DEFENDANT
SOLUTIONS. INC. AND OF THE
CORELOGIC CREDO LLC, DOES | ENTIRE CASE WITH PREJUDICE
MOTORCARS OF HOUSTON,

TRANSUNION, LLC, EXPERIAN
INFORMATION SOLUTIONS, INC.
and SKY RECOVERY SERVICES,

Defendants.

 

Plaintiff Porshia Jones and Defendant Experian Information Services
(“EXPERIAN”) have entered into a settlement and pursuant to that settlement
stipulate as follows:

1. Upon approval by the Court, Plaintiff Porshia Jones stipulates to dismiss
all claims against Defendant EXPERIAN;

2. This stipulation for dismissal is with prejudice;

3, Each party to pay their own incurred costs.

1
Stipulation of Dismissal With Prejudice of Experian and the Entire Case

 

 

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1 4, Since there are no remaining defendants in this case, Plaintiff Porshia
2 || Jones stipulates to dismiss the entire case with prejudice.
3
4 || Dated: Pury L , 2014 Law Offices of Robert F. Brennan, APC
5
rn
6 By: Ober +:
7 Robert F. Brennan, Esq.
Attorneys for Plaintiff
8 Porshia Jones
9
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11 || Dated: Bus 4 2014 JONES DAY
12
, 13 .
14 By: dd. Drona pecy
Nilab N. Rahyar, Eq.
15 Attorneys for Experian Information
16 Solutions, Inc.
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2
Stipulation of Dismissal With Prejudice of Experian and the Entire Case

 

 

 

 
 

 

 

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PROOF OF SERVICE

I] am employed in the county of Los Angeles, State of California. 1 am over the age of 18
and not a party to the within action; my business address is 3150 Montrose Avenue, La Crescenta,
CA 91214,

On August 4, 2014, I served the foregoin documents described as
STIPULATION OF DISMISSAL WITH PREJUDICE OF DEFENDANT
EXPERIAN INFORMATION SOLUTIONS, INC., AND THE ENTIRE
CASE WITH PREJUDICE on parties in this action,

[ X ] By ECF: On this date, I electronically filed the document(s) with the Clerk of the Court using
CMECEF system, which sent electronic notification of such filing to the following:

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[ ] *I deposited such envelope in the mail at La Crescenta, California. The envelope was
mailed with postage thereon fully prepaid.

 

[X ] (Federal) I declare that I am employed in the office of a member of the bar of this court
at whose direction the service was made.

   

Executed on August 4, 2014, at La Crescenta, Caljforfu

 

Isabel Grubbs

 
